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 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4   E-Mail: salsciandra@sbcglobal.net
 5
 6   Attorney for Defendant, CARLOS ENRIQUEZ
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA                         )        CASE NUMBER: 1:10-CR-00211-OWW
                                                      )
12                          Plaintiff,                )
                                                      )
13   v.                                               )        ORDER AUTHORIZING UNDER SEAL
                                                      )        FILING
14   CARLOS ENRIQUEZ                                  )
                                                      )
15                          Defendants.               )        (Pursuant to Local Rule 141)
                                                      )
16
17           For the reasons stated in the Request to Seal Documents and for good cause shown, defendant
18   ENRIQUEZ application for ancillary funds and the Proposed Order may be filed under seal.
19           Access to these documents shall be limited only to: 1) the Court and its staff and 2) counsel for
20   record for defendant ENRIQUEZ. The document shall remain sealed unless and until this Court orders
21   that it be unsealed.
22           The Request is hereby granted.
23
24   Dated: January 25, 2011                        /s/ OLIVER W. WANGER
                                                    UNITED STATES DISTRICT COURT JUDGE
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